
662 S.E.2d 900 (2008)
STATE
v.
George Thomas WILKERSON.
No. 170A07.
Supreme Court of North Carolina.
June 10, 2008.
Barbara Blackman, Assistant Appellate Defender, Thomas K. Maher, for Wilkerson.
Robert Montgomery, Special Deputy Attorney General, Garland N. Yates, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 6th day of June 2008 by State of NC for Extension of Time to File Brief:
"Motion Allowed. State of NC shall have up to and including the 11th day of August 2008 to file and serve his/her brief with this Court. By order of the Court in conference this the 10th day of June 2008."
